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              EXHIBIT “A”
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                        Civil Case Information Statement
 Case Details: BERGEN | Civil Part Docket# L-003051-21

Case Caption: ARNONE ALICIA VS WALMART INC                       Case Type: PERSONAL INJURY
Case Initiation Date: 05/10/2021                                 Document Type: Complaint with Jury Demand
Attorney Name: JAMES C DE ZAO III                                Jury Demand: YES - 12 JURORS
Firm Name: JAMES C. DE ZAO, P.A.                                 Is this a professional malpractice case? NO
Address: 322 US HWY 46 #120                                      Related cases pending: NO
PARSIPPANY NJ 07054                                              If yes, list docket numbers:
Phone: 9738088900                                                Do you anticipate adding any parties (arising out of same
Name of Party: PLAINTIFF : ARNONE, ALICIA                        transaction or occurrence)? NO
Name of Defendant’s Primary Insurance Company
(if known): CLAIMS MANAGEMENT INC                                Are sexual abuse claims alleged by: ALICIA ARNONE? NO




      THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




 Do parties have a current, past, or recurrent relationship? NO
 If yes, is that relationship:
 Does the statute governing this case provide for payment of fees by the losing party? NO
 Use this space to alert the court to any special case characteristics that may warrant individual
 management or accelerated disposition:


 Do you or your client need any disability accommodations? NO
        If yes, please identify the requested accommodation:


 Will an interpreter be needed? NO
          If yes, for what language:


 Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




 I certify that confidential personal identifiers have been redacted from documents now submitted to the
 court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

 05/10/2021                                                                                        /s/ JAMES C DE ZAO III
 Dated                                                                                                            Signed
